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Maria Strohbehn
Assistant Distict Atorney, Manhattan District Atomey’s
Office

New York. New York Law Practice

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U.S. Department of Justice, U.S. Attorney's Office, District of
Maryland, State Attorney's Office, Anne Arundel! County,
National District Attorney's Association’ American Prosecutar's
Research institute

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P.C.

palmira garcia

Erin Tierney
Assistant District Atomey at New York
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Maria Strohbehn

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Case 1:15-cv-05871-KPF Reg ymenisd-Baybiled 08/13/15 Page 10 of 16
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Case 1:15-cv-05871-KPF Document 4-6 Filed 08/13/15 Page 11 of 16

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TREATING PHYSICIAN'S WELLNESS PLAN REPORT

Participants in HRA's public assistance program, who have been assessed to have unstable or untreated
medical and/or mental health conditions affecting functional capacity and requiring treatment, are placed in a
wellness plan (WP). TO assist HRA to determine your patient's functional capacity and ability to participate in
work-related activities at the completion of the WP, please complete and sign this report and/or provide copies

of any medical reports and/or progress notes that would be relevant to making this determination.

  

rm and/or attach extra sheet (s) if necess

 
   

You may use th

   

Joy Ao-W2

       
 

* patient's Name:

 

Male/Female

Social Security Number. Age:
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AN cy PA CELL Telephone: io = lo |

Case Manager —\=

 
     
   
    
  
  

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Attends scheduled appointments? Yes L1No
Takes prescribed medication? Yes. (| No ( Unknown
Complies with other type> of treatment? ves | No LJ Unknown

 
    
   
  

If "no" to any, explain: eo

 
  

      
  

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Patient's Name: _ Social Securlty Number:

 

 
    
    
    
 
 

Has the diagnosls/condition that ts a focus of treatment been resolved or stablllzed C1 Yes Bye

DWI NG DUAR

If no, explain and provide estimated date:

 

  
    
   
 
    

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Ladditional comments, as: Auletcin (ciel spear ae

       

  
 

 
 

G No functional limitations.

Beaplorn’ with work limitations, What are the work limitalions, what types of workplace accommodations are |
commended, and what type of work can your patient perlorm? CE hI Puc KS whe

D Temporarily unemployable. Please speclfy timeframe you expect your patient will be able to participate In work-
related actlvitles with or without Ilmitations.

CO Unable to work for at least 12 months. (may be eligible for long term disability benefits)

O Cannot determine; more Information is needed. (Please Specify)

 

(base my conclusion on; [PLEASE CHECK ALL THAT Apply)

 

 

 

 

 

 

 

 

 

 

1 My Examination of the patient A review of Ihe.patlent's chart 3____———___sReporis from specialists
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Physiclan a CTQRAEEY® ES2LS Tel #: C4 iz FBT D YO |
Physician Signature: Lee, Ke 2/ ——_—2> we “\ Bate: 3 / 3 j 1 ce . |
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Physician Stamp (optional) If you have anyapestions, please contact! |
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Case 1:15-cv-05871-KPF Document 4-6 Filed 08/13/15 Page 16 of 16

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PMH
Information Verification: Verified t
Historian: EMS
Potential Barrier to Education: emotional state, mental status, condition of patient
Travel History: Unable
Medical History: None

 

Allergies

 

 

 

Allergen] Allergic reaction| Allergy Note
NKDA

 

Information Verification: Verified

Historian: EMS

Potential Barrier to Education: emotional state, mental status, condition of patient
Travel History: Unable

Medical History: None

 

 

 

 

 

Allergies
Allergen| Allergic reaction| Allergy Note
NKDA
Published: 16-52 10/19/2012 MACVIR PAGUA IRIN

Historian: EMS

Potential Barrier to Education: emotional state, mental status, condition of patient
Travel History: Unable

Medical History: None

 

Allergies

 

 

 

Allergen| Allergic reaction| Allergy Note
NKDA

 

Medical History - System Generated Note: Published: 16:52 10/19/2012 EMSTAT System entry

Home Medications

 

Medications

 

Medications | Dosage| Frequency |Last Dose
None

 

 

 

Information Verification: Verified
Published 17-29 10/9/2012 MARSHA DIXON, PA

 

Medications

 

 

 

Medications | Dosage | Frequency| Last Dose

 

None

Information Verification: Verified
Published: 16:52 10/18/2092 MACVIR PADUA, RN

_ Physical examination
Pulse Oximetry: Non-hypoxic
PE Limited by: No limitation - appears as reliable historian

10/22/2012 10:39:22 AM
